        Case 3:18-cr-00007-DHB-BKE Document 104 Filed 10/26/18 Page 1 of 1


                                                                                    FILED
                                                                             U.S. DISTRICT COURT
                         IN THE UNITED STATES DISTRICT COURT                     AUGUSTA U!V.

                      FOR THE SOUTHERN DISTRICT OF GEORGIA                  20I8OCT26 PH 2:5*4

                                     DUBLIN DIVISION                       CLERK
                                                                                SO. ISfr'OFGA.
UNITED STATES OF AMERICA


               VS.                                 CASE NO: CR 318-007


SHANETRA CONEY


                                          ORDER


        The defendant,         Coney, was dismissed by this ConrTs Order dated 10/12/2018

granting the Govermnent's motion to dismiss this case with prejudice. Surety, Shanetra Coney,

has requested the return of the $2,000.00 cash security posted on the defendant's $20,000.00

bond.


        IT IS HEREBY ORDERED that the cash collateral in the amount of $2,000.00 posted

by Shanetra Coney for defendant, plus all accrued interest thereon, be returned to Shanetra

Coney at 719          U,EastThiblin, GA 31027.

        This         day of October 2018 at Augusta, Georgia.




                                                   DUDLEY H. BOWEN,JR., JUDGl
                                                   UNITED STATES DISTRICT COURT
                                                   SOUTHERN DISTRICT OF GEORGIA
